        Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21      Page 1 of 32




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                      )
NATIONAL COMMUNITY PHARMACISTS                        )
ASSOCIATION,                                          )
100 Daingerfield Road                                 )
Alexandria, VA 22314                                  )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )
                                                      )
ALEX M. AZAR, II, Secretary                           )
United States Department of                           )
Health and Human Services,                            )
200 Independence Avenue, S.W.                         )
Washington, D.C. 20201                                )
                                                      )
                       Defendant.                     )
                                                      )

            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                       NATURE OF SUIT

       1.      This is an action for judicial review of a policy of the Department of Health and

Human Services (“HHS”) that undermines Medicare beneficiaries’ access to negotiated prices

for prescription drugs and otherwise alters Medicare payment for those drugs in a way that

reduces their availability. Despite having been reopened time and time again over the last

several years, the agency’s current definition of “negotiated prices” continues to enable Medicare

Part D plans under the Medicare program (and the pharmacy benefit managers (“PBMs”) with

which they contract) to downward-adjust reimbursement to pharmacies for prescription drugs

months after a patient has paid cost-sharing for the prescription drugs based on an artificially

inflated price. This dynamic results from an exception to the definition of “negotiated prices” for

pharmacy price concessions that cannot “reasonably be determined” at the time of sale, an

                                                 1
        Case 1:21-cv-00131-ABJ           Document 1       Filed 01/15/21       Page 2 of 32




exception that HHS said would be narrow but never was. In reality, this exception swallows the

rule and hereby threatens the solvency of independent community pharmacies and drives up the

cost of prescription drugs for Medicare patients nationwide. Plaintiff asks this Court to set aside

that invalid exception and the agency’s guidance on it.

       2.      The “reasonably determined” exception in the pharmacy price-concession clause

of HHS’ regulation—which remains on the books despite repeated and necessary reconsideration

of it—is invalid for several reasons. First, excluding pharmacy price concessions that cannot be

reasonably determined at the point of sale violates the Medicare statute’s plain language and

intent to require that Medicare drug plans give Medicare beneficiaries the benefit of all drug

price concessions, without exception. Second, the agency’s regulation containing the exception

is arbitrary and capricious because it is internally inconsistent and reflects that the agency did not

consider important factors, including significant comments from stakeholders, in redefining

“negotiated prices.” Third, the rule is also arbitrary and capricious and not based on substantial

evidence regarding the prevalence of drug price adjustments made after the point of sale. Fourth,

the “reasonably determined” exception for pharmacy price concessions was adopted without

proper notice-and-comment rulemaking. In addition, aside from also violating the statute, the

agency’s annual guidance memorandums on Medicare Part D Direct and Indirect Remuneration

(“DIR”) Reporting Requirements contravene the language and intent of the regulatory definition

of “negotiated prices.”

       3.      Plaintiff thus seeks an order setting aside the “reasonably determined” exception

in the second clause of the regulation, which excludes from the definition of “negotiated prices”

those “price concessions from network pharmacies . . . that cannot reasonably be determined at




                                                  2
        Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21      Page 3 of 32




the point-of-sale” of a prescription drug. 42 C.F.R. § 423.100(2). Plaintiff also seeks an order

setting aside the agency’s policy guidance addressing that exception.

                                             PARTIES

       4.      Plaintiff in this action is the National Community Pharmacists Association

(“NCPA”), a non-profit organization based in Alexandria, Virginia. NCPA represents the

interests of the owners, managers, employees, and patients of 21,000 independent community

pharmacies across the United States. These pharmacies and their pharmacists are rooted in the

communities that they serve and pride themselves on connecting and consulting with patients.

Together, these independent pharmacies represent a $76 billion health care marketplace and

employ more than 250,000 individuals on a full- or part-time basis.1

       5.      Defendant Alex M. Azar II is the Secretary of the United States Department of

Health and Human Services, the federal agency that administers the Medicare program. The

Secretary is sued only in his official capacity. References to HHS are meant to refer to the

Secretary, his subordinate agencies and officials, and to his official predecessors or successors as

the context requires.

       6.      The Centers for Medicare & Medicaid Services (“CMS”) is an operating division

of HHS with responsibility for day-to-day operation and administration of the Medicare

program. References to CMS are meant to refer to the agency and its organizational

predecessors as context requires.




1
  Plaintiff has standing, including associational standing, to bring this suit because (1) its member
pharmacies would otherwise have standing to sue in their own right; (2) the interests that
Plaintiff seeks to protect are germane to its purpose as a pharmacy association that advocates in
favor of the rights and interests of pharmacies; and (3) neither the claims asserted nor the relief
requested requires the participation of Plaintiff’s individual members. See Hunt v. Wash. State
Apple Advert. Comm’n, 432 U.S. 333, 343 (1977).

                                                 3
        Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21      Page 4 of 32




                                 JURISDICTION AND VENUE

       7.      This action arises under the Medicare Act, title XVIII of the Social Security Act

(the “Act”), 42 U.S.C. § 1395 et seq.

       8.      Jurisdiction is proper under 28 U.S.C. § 1331.

       9.      Venue is proper in this judicial district under 28 U.S.C. § 1391.

                        STATUTORY AND REGULATORY BACKGROUND

       A.      Medicare and the Medicare Part D Prescription Drug Program

       10.     Medicare is a federally funded health insurance program primarily for elderly and

disabled persons that was established under Title XVIII of the Social Security Act, 42 U.S.C.

§ 1395 et seq. Medicare Part A provides a hospital insurance benefits program, 42 U.S.C.

§§ 1395c, 1395d, Medicare Part B offers a supplemental medical insurance benefits program, id.

§§ 1395i, 1395k, 1395l, and Medicare Part C provides an optional managed care alternative to

Parts A and B, id. § 1395w-21–28, et seq.

       11.     Medicare Part D, at issue here, provides prescription drug coverage to Medicare

beneficiaries. See Medicare Prescription Drug, Improvement, and Modernization Act of 2003,

Pub. L. 108-173, 117 Stat. 2066 (2003) (“Medicare Modernization Act” or “MMA”).

       12.     An individual may enroll in Part D if he or she lives in the service area of a Part D

plan and is entitled to Medicare benefits under Part A or is enrolled under Part B. See 42 U.S.C.

§ 1395w-101(a)(3)(A); 42 C.F.R. § 423.30(a).

       13.     The Medicare Part D statute establishes “cost sharing” obligations for plan

enrollees. 42 U.S.C.§ 1395w-102(b)(4)(A)(i). In its rules interpreting cost-sharing, HHS has

stated that “[b]eneficiary cost sharing is a function of the negotiated price” paid by Part D plan

sponsors. 74 Fed. Reg. 1,494, 1,505 (Jan. 12, 2009). HHS now realizes that for enrollees with



                                                 4
         Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21       Page 5 of 32




high prescription needs, “[w]hen pharmacy price concessions and other price concessions are not

reflected in the negotiated price at the point of sale (that is, are applied instead as [Direct and

Indirect Remuneration] at the end of the coverage year), beneficiary cost-sharing increases,

covering a larger share of the actual cost of a drug.” 83 Fed. Reg. 62,152, 62,176 (Nov. 30,

2018).

         14.   HHS’ operating division administering the Part D program, CMS, contracts with

private entities known as Part D plan sponsors to administer prescription drug plans and furnish

Part D coverage. 70 Fed. Reg. 4,194, 4,244 (Jan. 28, 2005). In providing drugs to enrolled

beneficiaries, plan sponsors regularly subcontract with “first tier entities,” such as PBMs—

companies that manage prescription drug benefits on behalf of Medicare Part D drug plans,

health insurers, employers, and other payers. See id. at 4,554.

         15.   The Medicare Act requires plan sponsors to, among other things, “provide

enrollees with access to negotiated prices used for payment for covered part D drugs.” 42 U.S.C.

§ 1395w-102(d)(1)(A). The Act further requires that, “[f]or purposes of [part D], negotiated

prices shall take into account negotiated price concessions, such as discounts, direct or indirect

subsidies, rebates, and direct or indirect remunerations, for covered part D drugs, and include any

dispensing fees for such drugs.” 42 U.S.C. § 1395w-102(d)(1)(B). Congress intended that

“negotiated price concessions” would include all pharmacy price concessions, without exception.

See H.R. Rep. No. 108-391, at 438 (2003) (Conf. Rep.) (“Qualified drug plans would be required

to provide beneficiaries with access to negotiated prices (including all discounts, direct or

indirect subsidies, rebates, other price concessions, or direct or indirect remunerations),

regardless of the fact that no benefits may be payable.”); H.R. Rep. No. 108-178(I), at 184




                                                   5
        Case 1:21-cv-00131-ABJ           Document 1         Filed 01/15/21      Page 6 of 32




(2003) (“[A]ll PDP plans will be required to make available to their enrollees the benefit of all

price discounts.” (emphasis added)).

        16.     Under the Medicare statute, the agency is required to base its payments to Part D

plans on the plan sponsor’s costs, which must be “actually paid” amounts. 42 U.S.C. § 1395w-

115. The implementing regulations define “actually paid” costs as costs that “must be actually

incurred by the Part D sponsor and must be net of any direct or indirect remuneration . . . from

any source . . . that would serve to decrease the costs incurred under the Part D plan.” 42 C.F.R.

§ 423.308. Under agency policy, price concessions that are not included in the “negotiated

price” must be reported to the agency as “direct or indirect remuneration” (“DIR”) at the end of

the coverage year and are used in the agency’s calculation of final Medicare payments to Part D

plans. See CMS, 2017 Fact Sheet: Medicare Part D – Direct and Indirect Remuneration (DIR)

(Jan. 19, 2017) (“2017 Fact Sheet”).2 Accordingly, in order to determine the appropriate

payment amounts to Part D sponsors, the agency requires—and has the legal authority to

require—Part D sponsors to report DIR data. 42 U.S.C. § 1395w-115(d)(2)(A) (conditioning

payments to Part D sponsors upon the receipt of any information required by the agency).

However, “when price concessions are applied after the point of sale, as DIR, the majority of the

concession amount accrues to the plan, and the remainder accrues to the government.” 83 Fed.

Reg. at 62,175. Thus, when Part D plans and their PBMs report post-point-of-sale payment

recoupments (referred to by HHS as pharmacy price concessions) as DIR, it has the ultimate

effect of inflating the price of the drug at the point of sale. See id. at 62,174.

        B.      Regulatory Definition of “Negotiated Prices”




2
 This document is available at https://www.cms.gov/newsroom/fact-sheets/medicare-part-d-
direct-and-indirect-remuneration-dir (last visited January 15, 2021).

                                                   6
        Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21       Page 7 of 32




       17.     In January 2005, HHS promulgated its first regulatory definition of “negotiated

prices.” 70 Fed. Reg. 4,194, 4,534 (Jan. 28, 2005). The agency initially defined that term as

follows:

       Negotiated prices means prices for covered Part D drugs that (1) Are available to
       beneficiaries at the point of sale at network pharmacies; (2) Are reduced by those
       discounts, direct or indirect subsidies, rebates, other price concessions, and direct or
       indirect remunerations that the Part D sponsor has elected to pass through to Part D
       enrollees at the point of sale; and (3) Includes any dispensing fees.

Id.; see also 42 C.F.R. § 423.100 (2005). HHS explained that, at that time, it interpreted the

governing statute as “requir[ing] that ‘discounts, direct or indirect subsidies, rebates, other price

concessions, and direct or indirect remunerations’ be taken into account in establishing covered

Part D drug negotiated prices.” 70 Fed. Reg. at 4,245 (citation omitted).

       18.     In January 2009, HHS further amended its definition of negotiated prices. 74 Fed.

Reg. 1,494, 1,544 (Jan. 12, 2009). Under that rule, HHS refined the definition of “negotiated

prices” as follows:

       Negotiated prices means prices for covered Part D drugs that—(1) The Part D sponsor (or
       other intermediary contracting organization) and the network dispensing pharmacy or other
       network dispensing provider have negotiated as the amount such network entity will
       receive, in total, for a particular drug; (2) Are reduced by those discounts, direct or indirect
       subsidies, rebates, other price concessions, and direct or indirect remuneration that the Part
       D sponsor has elected to pass through to Part D enrollees at the point of sale; and (3)
       Includes any dispensing fees.

Id.; 42 C.F.R. § 423.100 (2009).

       19.     The 2009 Rule and its 2005 predecessor differed in only one key respect: the

revision of the first clause in the definition “negotiated prices” to refer to the “total” negotiated

amount that would be received by the network pharmacy. According to HHS, this amendment

was designed to increase price transparency and ensure “that Part D sponsors base beneficiary




                                                   7
        Case 1:21-cv-00131-ABJ           Document 1       Filed 01/15/21      Page 8 of 32




cost sharing and price reporting to CMS on the price ultimately received by the pharmacy or

other dispensing provider, also known as the pass-through price.” 74 Fed. Reg. at 1, 505.

       20.     In redefining negotiated prices in this manner, HHS said it that sought to prevent

plan sponsors from artificially inflating negotiated prices, which would have an adverse

downstream effect on beneficiaries. Id. HHS emphasized the impact of negotiated prices on

beneficiary costs, noting that “[b]eneficiary cost sharing is a function of the negotiated price,

either directly as in coinsurance percentages of the negotiated price, or indirectly, as co-

payments which are ultimately tied to actuarial equivalence requirements based on negotiated

prices.” Id. The agency reaffirmed this definition through subsequent rulemaking in 2010. See

75 Fed. Reg. 19,678, 19,816 (Apr. 15, 2010) (amending regulation at 42 C.F.R. § 423.100 but

leaving “negotiated prices” definition intact).

       C.      HHS’ 2014 Rulemaking and Aftermath

       21.     In 2014, HHS proposed yet another definition of “negotiated prices.” In a

proposed rule, HHS stated, “we propose to revise the definition of negotiated prices at § 423.100

to require that all price concessions from pharmacies are reflected in these prices.” 79 Fed. Reg.

1,918, 1,974 (Jan. 10, 2014) (emphasis added). HHS explained its rationale for this proposal by

noting that the previous rule “permits sponsors and their intermediaries to elect to take some

price concessions from pharmacies in forms other than the negotiated price and report them

outside the [prescription drug transaction event].” 79 Fed. Reg. at 1972. By requiring all

pharmacy price concessions to be included in the negotiated price, HHS said that it sought “to

ensure that negotiated prices have a consistent meaning, provide for increased transparency in

cost reporting to CMS, and allow for meaningful price comparisons between Part D sponsors.”

79 Fed. Reg. 29,844, 29,878 (May 23, 2014) (preamble to final rule).



                                                  8
        Case 1:21-cv-00131-ABJ          Document 1       Filed 01/15/21      Page 9 of 32




       22.     NCPA submitted a comment in favor of this proposed new, all-inclusive

definition of negotiated price, explaining that the prior regulation allowed price concessions to be

“mischaracterized” by plan sponsors, making it “virtually impossible for the federal

government/CMS and Part D beneficiaries alike to conduct a true ‘apples to apples’ comparison

of the many different Part D plan options.” Letter from Steve Pfister, NCPA to CMS, at 10

(Mar. 7, 2014). NCPA also commented that the proposed definition would have a positive

impact on beneficiary cost-sharing because the then-current system, which allowed plans to

report some price concessions as DIR, “produced a distortion in the treatment of costs that has

significant effects on beneficiary cost sharing.” Id.

       23.     NCPA’s comment was just one among what the agency itself called “a significant

number of comments in support of this provision based on the improved transparency of

pharmacy price concessions.” 79 Fed. Reg. at 29,878. HHS, however, did not adopt the

proposed definition of negotiated prices in the final rule. Id. The agency instead opted, without

advance notice or opportunity for comment, to exclude certain pharmacy price concessions from

the regulatory definition. Id. Although price concessions after the point of sale were

increasingly common and significant in size,3 the agency adopted what it said would be a narrow

exception. See 79 Fed. Reg. at 29,878 (“[W]e are revising our proposed definition of negotiated

price to allow a narrow exception to the requirement that all pharmacy price concession [sic] be

included in the negotiated price for those contingent pharmacy price concessions that cannot

reasonably be determined at the point-of-sale.”). Stakeholder comments confirmed the increased




3
  See, e.g., 2017 Fact Sheet (“Total DIR reported by Part D sponsors has been growing
significantly in recent years. Part D sponsors and PBMs are engaging to a greater extent in
arrangements that feature compensation after the point-of-sale, and the value of such
compensation is also generally increasing.”).

                                                 9
       Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21      Page 10 of 32




use of post-sale concessions, telling the agency that “[t]he entire health care industry is moving

to more risk-based contracting in order to encourage cost-effective health management,” and that

“[o]ften risk-based payment arrangements require retrospective performance review[.]”4

       24.     As a whole, HHS defined negotiated prices as follows:

       Negotiated prices means prices for covered Part D drugs that meet all of the following:
       (1) The Part D sponsor (or other intermediary contracting organization) and the network
       dispensing pharmacy or other network dispensing provider have negotiated as the amount
       such network entity will receive, in total, for a particular drug. (2) Are inclusive of all
       price concessions from network pharmacies except those contingent price concessions
       that cannot reasonably be determined at the point-of-sale; and (3) Include any dispensing
       fees; but (4) Excludes additional contingent amounts, such as incentive fees, if these
       amounts increase prices and cannot reasonably be determined at the point-of-sale. (5)
       Must not be rebated back to the Part D sponsor (or other intermediary contracting
       organization) in full or in part.

42 C.F.R. § 423.100.

       25.     At issue here, HHS made one change from the proposal to the final rule in the

second clause of the regulation. Under the proposed rule, the term “negotiated prices” was to

include “all price concessions and any other fees charged to network pharmacies,” without

limitation or qualification. See 79 Fed. Reg. at 2,062 (proposed regulation text). The final rule,

however, adds the language, “except those contingent price concessions that cannot reasonably

be determined at the point-of-sale.” 79 Fed. Reg. at 29,962 (final regulation text); 42 C.F.R. §

423.100(2).

       26.     In the final rulemaking, HHS noted that it limited its small business impact

assessment under the Regulatory Flexibility Act (“RFA”) to “Part D sponsors and [Medicare

Advantage] plans,” claiming that those were the only “entities that will be affected by the




4
  Letter from Steve Nelson, UnitedHealth Group to Marilyn Tavenner & Liz Richter, CMS, at 23
(Mar. 7, 2014), available at https://www.regulations.gov/document?D=CMS-2014-0007-1689
(last visited January 15, 2021).

                                                10
       Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21     Page 11 of 32




provisions of this rule.” 79 Fed. Reg. at 29,944. HHS then “determined that there were very few

[Medicare Advantage] plans and Part D sponsors that fell below the size thresholds for ‘small’

businesses established by the Small Business Administration,” and the agency did not prepare a

full and thorough small-business analysis “because the Secretary has determined that this final

rule will not have a significant impact on a substantial number of small entities.” Id. The agency

failed to address the impact on pharmacies even though the rule otherwise acknowledged the

import of the rules to pharmacies, many of which qualify as small businesses under the RFA.

See 79 Fed. Reg. at 29,942, 29,947–48; 5 U.S.C. § 601.

       27.     In the wake of the 2014 final rule adopting a definition of “negotiated prices” not

proposed, HHS issued “draft guidance” to “all Part D sponsors and interested parties” concerning

the changes that it had made to the definition. CMS, Direct and Indirect Remuneration (DIR)

and Pharmacy Price Concessions (Sept. 29, 2014).5 HHS at that time also specifically requested

comments “with examples of pharmacy price concessions that cannot reasonably be determined

or approximated at point-of-sale,” but offered only about a two-week comment period. Id. at 3.

       28.     NCPA responded to HHS’ request for comments with a strong warning that the

“reasonably determined” exception to the definition of “negotiated price” was subject to

manipulation by Part D sponsors and PBMs. Letter from Susan Pilch, NCPA to Amanda

Johnson, Centers for Medicare & Medicaid Services, at 1 (Oct. 17, 2014). Specifically, NCPA

warned HHS that “some Part D sponsors have manipulated the DIR reporting mechanism by

reporting many pharmacy price concessions as DIR under the guise that such price concessions

could not be determined at the point of sale.” Id. NCPA explained that this timing differential


5
 This document is available at https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-
documents/2012214694-xb-pharmacy_price_concessions_cy16_dir.pdf (last visited Jan. 15,
2021).

                                                11
       Case 1:21-cv-00131-ABJ          Document 1       Filed 01/15/21      Page 12 of 32




often results in higher cost-sharing for beneficiaries, while the “plan may also owe a substantial

year-end adjustment/risk-corridor payment to CMS due to substantial DIR.” Id. Anticipating

pushback from PBMs and Part D sponsors, NCPA explained that “PBMs that have worked in the

Part D marketplace have ample experience with the types of price concessions and fees

associated with the adjudication of claims that should enable them to ‘reasonably approximate’

the appropriate amount.” Id. at 2.

       29.     HHS sought further stakeholder feedback on the definition in 2017. Specifically,

in 2017, HHS issued a “Request for Information” soliciting input and “comment from

stakeholders on how [the agency] might update the requirements governing the determination of

negotiated prices, to better reflect current pharmacy payment arrangements, so as to ensure that

the reported price at the point of sale includes all pharmacy price concessions.” 82 Fed. Reg.

56,336, 56,426 (Nov. 28, 2017).

       30.     In this request, HHS acknowledged the error of its ways in creating the exception.

HHS explained that, despite its intention that the “reasonably determined exception” would be

narrow in scope, the “exception . . . applies more broadly than we had initially envisioned

because of the shift by Part D sponsors and their PBMs towards these types of contingent

pharmacy payment arrangements, and, as a result, this exception prevents the current policy from

having the intended effect on price transparency, consistency, and beneficiary costs.” Id., but see

supra n.4 (comment letter informing CMS—in 2014—that the “entire health care industry” was

moving toward “risk-based payment arrangements [that often] require retrospective performance

review”). To address this challenge, HHS advised that it was “considering revising the definition

of negotiated price at § 423.100 to remove the reasonably determined exception and to require




                                                12
       Case 1:21-cv-00131-ABJ           Document 1       Filed 01/15/21       Page 13 of 32




that all price concessions from pharmacies be reflected in the negotiated price.” 82 Fed. Reg. at

56,426.

       31.     In 2018, after considerable evidence that the exception was being interpreted and

utilized far more broadly than anticipated, HHS reconsidered its definition of “negotiated prices”

once again. The agency proposed finally eliminating the “reasonably determined” pharmacy

price-concession exception adopted in 2014. 83 Fed. Reg. 62,152, 62,177 (Nov. 30, 2018). In a

2018 proposed rule, HHS moved away from its prior interpretation of “take into account” and

acknowledged that the addition of the exception to the definition of “negotiated prices,” cannot

“be implemented in a manner that achieves . . . [m]eaningful price transparency, consistent

application of all pharmacy payment concessions by all Part D sponsors, and prevention of cost-

shifting to beneficiaries and taxpayers.” Id. HHS also explained that “[w]hen price concessions

are applied to reduce the negotiated price at the point of sale, some of the concession amount is

apportioned to reduce beneficiary cost-sharing,” and “when price concessions are applied after

the point of sale, . . . the majority of the concession amount accrues to the plan, and the

remainder accrues to the government.” Id. at 62,175. Moreover, HHS acknowledged that the

current regulatory scheme adversely affects Part D beneficiaries who are most in need, forcing

individuals who require the most pharmacy benefits to pay more for their medications. See id. at

62,176 (“For many Part D beneficiaries who utilize drugs and thus incur cost-sharing expenses,

this means, on average, higher overall out-of-pocket costs.”). Despite these conclusions,

repeated requests from the agency itself for feedback from stakeholders, and the agency’s own

commitment to reevaluate the definition of “negotiated prices” after observing its unintended

real-world consequences, HHS did not finalize this 2018 proposed definition, and the exception

remains in effect. 84 Fed. Reg. 23,832, 23,867 (May 23, 2019).



                                                 13
       Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21      Page 14 of 32




       D.      HHS’ Inconsistent Guidance

       32.     On April 27, 2016, without proper notice-and-comment rulemaking, HHS issued

draft guidance regarding Medicare Part D DIR reporting requirements. CMS, Final Medicare

Part D DIR Reporting Requirements for 2015 (May 31, 2016).6 HHS accepted comments until

May 16, 2016 and then issued final guidance on May 31, 2016. In the final guidance, HHS

identified various categories of pharmacy price concessions that must be reported as DIR, and,

necessarily, would not be included in the negotiated price (and would not be directly available to

enrollees as contemplated by Congress). Id. at 24. Specifically, HHS directed Part D sponsors

to report as DIR “any reconciliation amount that accounts for differences between the effective

rate and the adjudicated rate achieved by the pharmacy at the point-of-sale and contingent

incentive fees . . . .” Id. This definition of DIR is inconsistent with the 2014 definition of

“negotiated price,” which includes “all price concessions from network pharmacies except those

contingent price concessions that cannot reasonably be determined at the point-of-sale,” 42

C.F.R. § 423.100(2) (emphasis added), because the difference between the effective rate and

adjudicated rate is not contingent and can reasonably be determined at the point of sale.

Accordingly, HHS’ May 31, 2016 final DIR reporting guidance (and all successive annual

issuances of DIR reporting guidance) is contrary to HHS’ current regulatory definition of

“negotiated price.”

                                    STATEMENT OF FACTS

       33.     NCPA is a non-profit organization representing the interests of the owners,

managers, employees, and patients of thousands of independent community pharmacies across


6
 This document is available at
https://www.npaonline.org/sites/default/files/PDFs/Final%20Medicare%20Part%20D%20DIR%
20Reporting%20Requirements%20for%202015_1.pdf (last visited Jan. 15, 2021).

                                                 14
       Case 1:21-cv-00131-ABJ         Document 1       Filed 01/15/21     Page 15 of 32




the United States. Collectively, these independent community pharmacies represent a $76 billion

health care marketplace and employ more than 250,000 individuals nationwide. Many of

NCPA’s members are small businesses, with a 2019 average annual revenue of roughly $3.4

million.7 NCPA’s mission is to promote the professional and proprietary interests of

independent community pharmacists and the health and well-being of the patients they serve.

       34.     The professional and proprietary interests of independent community pharmacists

and health and well-being of patients are being severely harmed by the agency’s definition of

“negotiated price” and the resulting imposition of exorbitant post-point-of-sale payment

recoupments (referred to by HHS as pharmacy price concessions) by Part D sponsors and PBMs.

       35.     Recoupments imposed on pharmacies participating in Medicare Part D networks

by sponsors and their PBMs have exploded in recent years. In 2016, for example, pharmacies

received $211 million in performance payments from Part D plans, but paid more than $2.3

billion to Part D plans.8 These fees take many forms, including preferred network fees, “true

ups” to various effective rates, and payment adjustments due to performance compared to other

pharmacies in sponsors’ Part D networks based on quality measures. In fact, DIR fees now

average more than one percent of all prescription drug sales and more than five percent of gross

pharmacy profits.9



7
  NCPA, 2020 NCPA Digest at 7, available at https://ncpa.org/sites/default/files/2020-10/2020-
Digest.pdf (last visited Jan. 15, 2021).
8
  Adam Fein, Pharmacy DIR Fees Hit a Record $9 Billion in 2019 – That’s 18% of Total
Medicare Part D Rebates (Feb. 13, 2020), available at
https://www.drugchannels.net/2020/02/pharmacy-dir-fees-hit-record-9-billion.html (last visited
Jan. 15, 2021).
9
  Inmar Intelligence, Direct and Indirect Remuneration (DIR) Performance and the Impact on
Pharmacies Serving Medicare Part D Beneficiaries, (Revised July 2019), at 3, 14, available at
https://www.nacds.org/pdfs/government/2019/DIR_Performance_to_Date_2019.pdf (last visited
Jan. 15, 2021).

                                               15
       Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21      Page 16 of 32




        36.     The treatment of these recouped amounts as DIR rather than as reductions in the

“negotiated price” of a drug is problematic for a number of reasons.

        37.     First, retrospective pharmacy concessions eliminate a pharmacy’s ability to timely

and accurately account for profit on a prescription drug claim. Specifically, pharmacies are

reimbursed for a prescription drug on the basis of “negotiated price” absent any accounting for

these later-in-time, often sizeable payment recoupments. Such reimbursement may initially

appear adequate and appropriate. Months later, however, a sponsor or its PBM suddenly

withholds or claws back a large amount of money, immediately rendering the reimbursement on

claims inadequate and often lower than cost. And, importantly, pharmacies are unable to

forecast or model for this withholding because pharmacies often do not know the total amounts

that will be recouped in advance.

        38.     Second, by including such price concessions in DIR rather than in the “negotiated

price” at the point of sale, beneficiary cost-sharing, which is based on that price at the time of

sale, is higher than it should be.

        39.     Third, the “reasonably determined” exception has allowed for market distortions

with Part D plans’ preferred pharmacies. Certain brand and generic drugs appear cheaper at the

point of sale at preferred pharmacies when, at the end of the year and considering all the price

concessions in DIR, the cost to beneficiaries and the Medicare Part D program as a whole is

actually higher than it would be at non-preferred pharmacies.

        40.     A 2020 report by a top pharmacy industry analyst illustrates how PBMs are taking

advantage of the definition of “negotiated price” to secure enormous profits on DIR fees.10


10
   NCPA, Analysis Blows Lid Off $8.5 Billion PBM Scam, Says Community Pharmacy (Feb. 12
2020), available at https://ncpa.org/newsroom/news-releases/2020/02/12/analysis-blows-lid-85-
billion-pbm-scam-says-community-pharmacy (last visited Jan. 15, 2021).

                                                 16
       Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21      Page 17 of 32




According to the report, “DIR pharmacy fees overall have skyrocketed by 1,600% in the last five

years, totaling $8.5B since 2013.” Id. In 2017 alone, PBMs used DIR fees to squeeze more than

$4 billion out of pharmacies, which drives up the cost of prescription drugs for patients. Id. The

report concluded that this “loophole in the [Medicare Part D] program allows health plans and

PBMs to pocket an excessive amount of pharmacy DIR fees rather than offset prescription costs

for seniors.” Id.

       41.     In fact, according to a recent survey, the rampant manipulation of “negotiated

price” and DIR fees by PBMs has a majority of independent pharmacists concerned that they

will be forced out of business in the next couple of years.11 An estimated 63% of these

independent pharmacists say that “back-door pharmacy DIR fees are their biggest problem,”

while another 22% attribute their financial struggles to the related issue of decreasing

reimbursement. Id. Between December 2012, the first year of pharmacy DIR fees, and

December 2017, the number of independent community pharmacies decreased by 4.9%, while a

lower 3.3% of all retail pharmacies closed between June 2018 and June 2019. Id.

       42.     PBMs are able to “exert monopoly like control on pharmacies” because “[e]ighty-

five percent of all prescriptions filled in the US are controlled by three PBMs.”12 Therefore, as

long as the definition’s “reasonably determined” exception remains in effect, PBMs will

continue to charge independent community pharmacies exorbitant DIR fees, which will directly

impact the health and well-being of millions of Americans. “Local pharmacies do a lot more for



11
   Christine Blank, Independents Prepare to Close Up Shop (Oct. 17, 2019), available at
https://www.drugtopics.com/view/independents-prepare-close-shop (last visited Jan. 15, 2021).
12
   NCPA, Local Pharmacies Pushed to Brink by Pharmacy Benefit “Monopolies” (PBMs),
National Survey Shows (Oct. 15, 2019), available at https://ncpa.org/newsroom/news-
releases/2019/10/16/local-pharmacies-pushed-to-brink-by-pharmacy-benefit-monopolies (last
visited Jan. 15, 2021).

                                                17
       Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21      Page 18 of 32




their community than dispense pills.” Id. In addition to employing hundreds of thousands of

individuals, these pharmacies are often the only health care source for underserved communities,

and the Part D sponsors and “PBMs are forcing them to make some very unfortunate decisions,

and potentially millions of people will be affected.” Id.

                                  ASSIGNMENT OF ERRORS

        43.     The applicable provisions of the APA provide that the “reviewing court shall . . .

hold unlawful and set aside agency action . . . found to be . . . (A) arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law; . . . (C) in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right; (D) without observance of procedure required

by law; [or] (E) unsupported by substantial evidence[.]” 5 U.S.C. § 706(2). The exception from

the definition of “negotiated prices” for pharmacy price concessions that cannot “reasonably be

determined at the point-of-sale” should be set aside for a number of reasons, including those set

forth below.

                    COUNT ONE – APA CLAIM TO SET ASIDE AGENCY
                        ACTION THAT IS CONTRARY TO LAW

        44.     Plaintiffs repeat the allegations in paragraphs 1 through 43 of this complaint as if

fully set forth herein.

        45.     The “reasonably determined” pharmacy price concession exception in the second

clause of the negotiated price regulation violates the plain language and intent of the Medicare

Act That exception therefore must be set aside.

        46.     When it created the Medicare Part D program, Congress required that Part D

plans “shall provide enrollees with access to negotiated prices,” and that “[f]or purposes of [Part

D], negotiated prices shall take into account negotiated price concessions, such as discounts,

direct or indirect subsidies, rebates, and direct or indirect remunerations, for covered part D

                                                  18
       Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21      Page 19 of 32




drugs, and include any dispensing fees for such drugs.” 42 U.S.C. § 1395w-102(d)(1)(B)

(emphasis added). By repeatedly using the mandatory term “shall,” Congress evinced its intent

that plan sponsors must reflect pharmacy price concessions in the negotiated price, without

exception. See, e.g., Kingdomware Techs., Inc. v. United States, 136 S.Ct. 1969, 1977 (2016)

(“[T]he word ‘shall’ usually connotes a requirement”); Lexecon Inc. v. Milberg Weiss Bershad

Hynes & Lerach, 523 U.S. 26, 35 (1998) (recognizing that “shall” is “mandatory” and “normally

creates an obligation impervious to judicial discretion”); Appalachian Voices v. McCarthy, 989

F. Supp. 2d 30, 54 (D.D.C. 2013) (“Use of the word ‘shall’ in a statute generally creates a

mandatory duty.”).

       47.     By contrast, nothing in the statute authorizes the “reasonably determined”

exception that HHS adopted in the second clause of the regulation. 79 Fed. Reg. at 29,878; 42

C.F.R. § 423.100. In fact, the legislative history strongly supports the inclusion of all pharmacy

price concessions in the definition of negotiated prices. See House Conf. Rep. No. 108-391, p.

438 (2003) (“Qualified drug plans would be required to provide beneficiaries with access to

negotiated prices (including all discounts, direct or indirect subsidies, rebates, other price

concessions, or direct or indirect remunerations), regardless of the fact that no benefits may be

payable.”); House Report No. 108-178(I), p. 184 (June 25, 2003) (“[A]ll PDP plans will be

required to make available to their enrollees the benefit of all price discounts” (emphasis

added)). Under HHS’ current regulations, beneficiaries do not receive the benefit of all

pharmacy price discounts, and those most in need instead face “higher overall out-of-pocket

costs.” 83 Fed. Reg. at 62,176.

       48.     In addition, the “reasonably determined” exception is contrary to the “any willing

pharmacy” provision of the Medicare Act because Part D sponsors and PBMs are recouping



                                                  19
       Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21      Page 20 of 32




from independent pharmacies exorbitant pharmacy price concessions long after the point-of-sale

(with those price concessions often being far more exorbitant than those recouped from preferred

pharmacies). This effectively precludes many pharmacies from participating in certain Part D

sponsors’ pharmacy networks. Section 1395w-104(b)(1)(A) of the Medicare Act and section

423.120(a)(8)(i) of the implementing regulations require a Part D plan sponsor to “contract with

any pharmacy that meets the Part D plan sponsor’s standard terms and conditions for network

participation.” 83 Fed. Reg. 16,440, 16, 589 (Apr. 16, 2018); 42 C.F.R. § 423.120(a)(8)(i).

Section 423.505(b)(18) of the implementing regulations further requires Part D plan sponsors “to

have a standard contract with reasonable and relevant terms and conditions of participation

whereby any willing pharmacy may access the standard contract and participate as a network

pharmacy.” 42 C.F.R. § 423.505(b)(18). Because the “reasonably determined” exception

enables Part D sponsors and PBMs effectively to exclude independent pharmacies from their

networks—by forcing those pharmacies to suffer significant financial detriment when the

sponsors and PBMs recoup enormous sums months after sales, the “reasonably determined”

exception contravenes the “any willing pharmacy” requirement of the Medicare Act.

       49.     Finally, HHS’ May 31, 2016 final DIR reporting guidance and all successive

annual issuances of DIR reporting guidance are contrary to HHS’ own regulatory definition of

“negotiated price” in 42 C.F.R. § 423.100.13 HHS’ guidance identified various categories of

pharmacy price concessions that must be reported as DIR, which, as a corollary, means that those

price concessions are not included in the negotiated price (and thus are not directly available to

Medicare Part D enrollees as contemplated by Congress). Id. at 24. Specifically, HHS directed


13
  Centers for Medicare & Medicaid Services, Final Medicare Part D DIR Reporting
Requirements for 2015 (May 31, 2016), https://www.hhs.gov/guidance/document/final-medicare-
part-d-dir-reporting-requirements-2015.

                                                20
       Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21      Page 21 of 32




Part D sponsors to report as DIR “any reconciliation amount that accounts for differences

between the effective rate and the adjudicated rate achieved by the pharmacy at the point-of-sale

and contingent incentive fees . . . .” Id. This definition of DIR is inconsistent with the definition

of “negotiated prices,” which includes “all price concessions from network pharmacies except

those contingent price concessions that cannot reasonably be determined at the point-of-sale,”

42 C.F.R. § 423.100(2) (emphasis added), because the difference between the effective rate (i.e.,

the reimbursement rate that ultimately applies after accounting for later-in-time price

concessions) and the adjudicated rate (i.e., the initial reimbursement rate at the point of sale) (1)

is not contingent on any performance or other requirement on the part of the pharmacy and (2)

can reasonably be determined at the point of sale. Accordingly, HHS’ May 31, 2016 final DIR

reporting guidance (and all successive annual issuances of DIR reporting guidance) is contrary to

HHS’ 2014 regulatory definition of “negotiated prices” and must be set aside under the APA.

        50.     The “reasonably determined” exception in 42 C.F.R. § 423.100(2) adopted in the

2014 final rule is therefore contrary to law and must be set aside.

COUNT TWO – APA CLAIM TO SET ASIDE AGENCY ACTION THAT IS ARBITRARY
    AND CAPRICIOUS AND UNSUPPORTED BY SUBSTANTIAL EVIDENCE

        51.     Plaintiffs repeat the allegations in paragraphs 1 through 50 of this complaint as if

fully set forth herein.

        52.     Agency action is arbitrary and capricious when the agency fails to explain its

decision-making adequately, offers insufficient reasons for treating similar situations differently,

or fails to consider an important aspect of the problem. See, e.g., Motor Vehicle Mfrs. Ass’n of

U.S., Inc. v. State Farm Mutual Auto. Ins. Co., 463 U.S. 29, 43 (1983) (“State Farm”).

Moreover, “to survive arbitrary and capricious review, the [agency] must show that it engaged in

‘reasoned decisionmaking.’” Am. Fed’n of Gov’t Emps., AFL-CIO, Local 1929 v. Fed. Labor

                                                 21
       Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21      Page 22 of 32




Rels. Auth., 961 F.3d 452, 456 (D.C. Cir. 2020) (citation omitted). When making a decision,

“the agency must examine the relevant data and articulate a satisfactory explanation for its action

including a ‘rational connection between the facts found and the choice made.’” State Farm, 463

U.S. at 43; see also Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016) (same).

“This means that an agency must ‘examine all relevant factors and record evidence’” and “must

‘adequately analyze . . . the consequences’ of [its] actions.” Stewart v. Azar, 313 F. Supp. 3d

237, 259 (D.D.C. 2018) (first alteration in original) (quoting Am. Wild Horse Pres. Campaign v.

Perdue, 873 F.3d 914, 923, 932 (D.C. Cir. 2017)). A “fundamental requirement of

administrative law is that an agency set forth its reasons for decision.” Amerijet Int’l, Inc. v.

Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014). “Where the agency has failed to provide a

reasoned explanation, or where the record belies the agency’s conclusion, [the Court] must undo

its action.” Cnty. of Los Angeles v. Shalala, 192 F.3d 1005, 1021 (D.C. Cir. 1999).

       53.     Here, in adopting the final rule creating an exception for pharmacy price

concessions that could not be reasonably determined at the point of sale, see 42 C.F.R.

§ 423.100(2), HHS concluded that this exception would be narrow. 79 Fed. Reg. at 29,878

(“[W]e are revising our proposed definition to include a narrow exception [for] . . . contingent

pharmacy price concessions that cannot reasonably be determined at the point-of-sale.”). The

agency, however, did not explain its belief that the reasonably determined exception would be

“narrow.” See 79 Fed. Reg. at 29,878. The agency did not propose that exception, and cited

nothing for its “belief.” See id.; see also Mirror Lake Vill., LLC v. Wolf, 971 F.3d 373, 376–77

(D.C. Cir. 2020) (agency’s decision not only “not ‘reasonably explained,’” its “‘explanation’ is

no explanation at all.” (citation omitted)). Indeed, the comments filed in response to the 2014




                                                 22
       Case 1:21-cv-00131-ABJ           Document 1       Filed 01/15/21      Page 23 of 32




proposed rule showed that price concessions outside the point of sale were commonly used. See

supra ¶¶ 22–23.

       54.     As adopted, the regulatory definition of negotiated prices is also internally

inconsistent and unworkable to the extent that it excludes certain pharmacy price concessions

“that cannot reasonably be determined at the point-of-sale” from the negotiated prices that must

be made available to beneficiaries. See 42 C.F.R. § 423.100(2); ANR Storage Co. v. Fed. Energy

Reg. Comm’n, 904 F.3d 1020, 1024 (D.C. Cir. 2018) (agency “must give a ‘reasoned analysis’ to

justify the disparate treatment of [circumstances] that seem similarly situated and its reasoning

cannot be internally inconsistent (citation omitted)). That “reasonably determined” exception in

the second clause of the regulation is inconsistent with other parts of the regulation. For

example, the first clause of the regulation defines negotiated prices as prices that a pharmacy

“will receive, in total, for a particular drug.” 42 C.F.R. § 423.100(2) (emphasis added). The

requirement that negotiated prices must reflect the total amount that a pharmacy will be paid

mandates inclusion of all pharmacy price concessions in the negotiated price. Similarly, the fifth

clause of the rule requires that negotiated prices paid to pharmacies “[m]ust not be rebated back

to the Part D sponsor (or other intermediary contracting organization) in full or in part.” Id.

(emphasis added). HHS instituted this rule to stop the practice of sponsors forcing pharmacies to

return a portion of the negotiated prices after the point of sale. See 79 Fed. Reg. at 29,877. But

that is precisely what is permitted in practice. Relying on HHS’ current definition of “negotiated

prices,” plan sponsors report a negotiated price that does not subtract later-in-time price

concessions that are reasonably known at the point-of-sale and then requires pharmacies to pay

back to the Part D sponsor or PBM part of that negotiated price. That practice is flatly

inconsistent with the fifth clause’s clear prohibition on rebating any portion of the negotiated



                                                 23
       Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21      Page 24 of 32




price back to the Part D sponsors or PBM, as HHS has apparently acknowledged. See, e.g., 83

Fed. Reg. at 62,177 (HHS 2018 proposed rule explaining that “reasonably determined” exception

could not “be implemented in a manner that achieves consistent application of all pharmacy

payment concessions by all Part D sponsors”).

       55.     Further, the agency’s failure to acknowledge, let alone dutifully analyze, the

significant financial impact of its final rule on pharmacies—such as those independent, small

businesses whose interests Plaintiff represents—as required under the Regulatory Flexibility Act

only underscores that the final rule is arbitrary and capricious. See 79 Fed. Reg. at 29,942; 5

U.S.C. §§ 604, 605; Advocs. for Highway & Auto Safety v. Fed. Motor Carrier Safety Admin.,

429 F.3d 1136, 1146–47 (D.C. Cir. 2005) (explaining that agency failed to consider important

aspect of problem with respect to economic effects); Resolute Forest Prod., Inc. v. U.S. Dep’t of

Agric., 187 F. Supp. 3d 100, 106–107, 113–14, 122–124 (D.D.C. 2016) (holding that agency’s

decision was arbitrary and capricious where, inter alia, it conflicted with duties under RFA and

“provided neither a coherent analysis” of impact on small entities “nor a reliable source of data

for its estimates”); see also 5 U.S.C. § 604(a)(4). Despite referring to pharmacies more than two

hundred times in the 2014 final rule, see 79 Fed. Reg. 29,844 et seq., HHS inexplicably

concluded with respect to its fiscal impact analysis that Part D sponsors and Medicare Advantage

plans were the only “entities that will be affected by the provisions of this rule.” Id. at 29,944.

The agency simply ignored the many small and vulnerable pharmacies that the rule also impacts,

such as NCPA’s members. In tension with this omission, HHS otherwise acknowledged some

effects of its definition on pharmacies, stating, “[w]e expect that the effect of the regulation to

require consistent and transparent pricing will . . . promote increased price competition among




                                                  24
       Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21      Page 25 of 32




network pharmacies,” and asserting “[w]e believe pharmacies will support including the full

price concession in the point-of-sale price.” 78 Fed. Reg. at 29,948.

       56.     Yet independent community pharmacies and their patients have been severely

harmed by the agency’s definition of “negotiated prices” and the resulting imposition of

exorbitant post-point of sale payment recoupments (which HHS considers pharmacy price

concessions) by Part D sponsors and PBMs. Because “[e]ighty-five percent of all prescriptions

filled in the U.S. are controlled by three PBMs,” these PBMs are able to “exert monopoly like

control” on independent community pharmacies.14 As a result, PBMs are squeezing billions out

of independent community pharmacies, which forces the pharmacies out of business and directly

impacts the health and well-being of their millions of patients nationwide. See id. By neglecting

the thousands of small pharmacy businesses affected by this rule, HHS’ decision was arbitrary

and capricious. See Resolute, 187 F. Supp. 3d at 106–107, 113–14, 122–124. The

“reasonably determined” exception must also be set aside because the agency did not examine

the relevant data before making its decision, and therefore did not consider an important aspect

of the problem. State Farm, 463 U.S. at 43.

       57.     Because the agency has not adequately explained its decision-making, failed to

provide any explanation to reconcile the conflicting requirements in the first and fifth clauses of

the definition of “negotiated prices,” has adopted inconsistent interpretations of the term

“negotiated prices” across the statute, and did not examine the relevant data before making its

decision, and therefore did not consider an important aspect of the problem, the “reasonably




14
   NCPA, Local Pharmacies Pushed to Brink by Pharmacy Benefit ‘Monopolies’ (PBMs),
National Survey Shows (Oct. 15, 2019), https://ncpa.org/newsroom/news-
releases/2019/10/16/local-pharmacies-pushed-to-brink-by-pharmacy-benefit-monopolies.

                                                25
       Case 1:21-cv-00131-ABJ          Document 1        Filed 01/15/21     Page 26 of 32




determined” exception in the second clause of the regulation is arbitrary and capricious and must

be set aside.

        58.     Indeed, not only was there inadequate “support in the record” for the agency’s

decision, but “subsequent events have borne out” the fatal flaws in the agency’s approach. Wold

Commc’ns, Inc. v. FCC, 735 F.2d 1465, 1478 n.29 (D.C. Cir. 1984) (considering subsequent

events in assessing the validity of agency prediction in APA action). To be sure, APA review is

ordinarily based on the administrative record, but “rule-making is necessarily forward-looking,

and by the time judicial review is secured events may have progressed sufficiently to indicate the

truth or falsity of agency predictions.” Amoco Oil Co. v. EPA, 501 F.2d 722, 729 n.10 (D.C. Cir.

1974). This Court need not “blind itself” to such obvious developments. Id.; see also Nio v. U.S.

Dep’t of Homeland Sec., 385 F. Supp. 3d 44, 61–62 (D.D.C. 2019) (similar).

        59.     In the 2017 request for information reopening the definition of negotiated price,

HHS admitted that the 2014 final rule was instituted based on obsolete information that did not

reflect the true nature of Medicare Part D pharmacy payments. 82 Fed. Reg. at 56,426. The

agency said that the 2014 rule relied on data from 2012 that did not accurately reflect “the

growth of performance-based pharmacy payment arrangements.” When the agency considered

the more recent and relevant data, it realized that the exception it adopted in 2014 “prevents the

current policy from having the intended effect on price transparency, consistency, and

beneficiary costs.” Id. And by 2018, following receipt of comments from interested

stakeholders, including NCPA, HHS recognized that pharmacy price concessions had increased

by an astounding 45,000 percent between 2010 and 2017. 83 Fed. Reg. at 62,174. For example,

NCPA submitted a comment letter in January 2018 warning the agency that “accounting for

retrospective pharmacy price concessions as DIR rather than concessions in the ‘negotiated



                                                26
       Case 1:21-cv-00131-ABJ           Document 1       Filed 01/15/21       Page 27 of 32




price’ at the point-of-sale permits sponsors to artificially moderate premiums at the expense of

higher cost-sharing for beneficiaries.” Letter from Susan Pilch, NCPA to Seema Verma, Centers

for Medicare & Medicaid Services (Jan. 16, 2018). Unsurprisingly, by the end of 2018, HHS

admitted that the “reasonably determined” exception to the definition of “negotiated prices,”

cannot “be implemented in a manner that achieves . . . meaningful price transparency, consistent

application of all pharmacy payment concessions by all Part D sponsors, and prevention of cost-

shifting to beneficiaries and taxpayers.” Id. at 62,177. Far from “narrow,” the exception is quite

the opposite.

       60.      Because the 2014 final rule relied on outdated information that did not reflect the

growth of performance-based pharmacy payment arrangements, HHS’ addition of the

“reasonably determined” pharmacy price concession exception is arbitrary and capricious in that

it failed to consider the relevant data and therefore did not consider an important aspect of the

problem.

       61.      The definition of negotiated prices adopted in the 2014 final rule is arbitrary and

capricious because HHS failed to explain its decision-making, because the rule as adopted is

both internally inconsistent and because the rule failed to consider all relevant data.

       62.      For similar reasons, the agency’s 2014 final rule is unsupported by substantial

evidence. 5 U.S.C. § 706. Not even having proposed the reasonably determined exception, the

agency lacked substantial evidence that this exception would be narrow. The “reasonably

determined” pharmacy price-concession exception added to the second clause of the 2014 final

rule was unsupported by substantial evidence and must be set aside. See AT&T Corp. v. FCC, 86

F.3d 242, 247 (D.C. Cir. 1996) (substantial evidence “means such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion” taking into account



                                                 27
       Case 1:21-cv-00131-ABJ           Document 1       Filed 01/15/21       Page 28 of 32




“whatever in the record fairly detracts from its weight.”) (quoting NLRB v. Columbian

Enameling & Stamping Co., 306 U.S. 292, 300 (1939) and Universal Camera Corp. v. NLRB,

340 U.S. 474, 488 (1951)); cf. Defs. of Wildlife & Ctr. for Biological Diversity v. Jewell, 815

F.3d 1, 9 (D.C. Cir. 2016) (applying substantial evidence test in challenge to agency rule).

        63.     Any of the shortcomings described above require the Court to set aside the

“reasonably determined” exception that was adopted in the 2014 final rule.

    COUNT THREE – FAILURE TO OBSERVE PROCEDURE REQUIRED BY LAW

        64.     Plaintiffs repeat the allegations in paragraphs 1 through 63 of this complaint as if

fully set forth herein.

        65.     The “reasonably determined” pharmacy price-concession exception in 42 C.F.R.

§ 423.100(2) was not adopted in accordance with the notice-and-comment rulemaking

requirements of the APA and Medicare Act, and therefore must be set aside.

        66.     Both the APA and the Medicare Act require HHS to provide the public with

adequate notice of a proposed rule and the opportunity to submit comments in response. See 5

U.S.C. §§ 552(b)-(c), 706(2) (APA), 42 U.S.C. § 1395hh(a), (b)(1) (Medicare Act) (“[B]efore

issuing in final form any regulation . . . the Secretary shall provide for notice of the proposed

regulation in the Federal Register and a period of not less than 60 days for public comment

thereon.”).

        67.     “Notice requirements are designed (1) to ensure that agency regulations are tested

via exposure to diverse public comment, (2) to ensure fairness to affected parties, and (3) to give

affected parties an opportunity to develop evidence in the record to support their objections to

the rule and thereby enhance the quality of judicial review.” Int’l Union , United Mine Workers

v. MHSA, 407 F.3d 1250, 1259 (D.C. Cir. 2005).



                                                 28
       Case 1:21-cv-00131-ABJ            Document 1        Filed 01/15/21       Page 29 of 32




        68.     An agency may promulgate a final rule that is different from a proposed rule, but

only if the final rule is a ‘logical outgrowth’ of the proposed rule, i.e., only if “interested parties

‘should have anticipated that the change was possible, and thus reasonably should have filed

their comments on the subject during the notice and comment period.” Id. (quoting Ne. Md.

Waste Disposal Auth. V. EPA, 358 F.3d 936, 952 (D.C. Cir. 2004). Thus, a proposed rule cannot

require an interested party to “divine [an agency’s] unspoken thoughts,” see Ariz. Pub. Serv. Co.

v. EPA, 211 F.3d 1280, 1299 (D.C. Cir. 2000), and must “adequately frame the subjects for

discussion,” Nat’l Lifeline Ass’n v. Fed. Commc’ns Comm’n, 921 F.3d 1102, 1115 (D.C. Cir.

2019). Likewise, an agency “cannot bootstrap notice from a comment,” Shell Oil Co. v. E.P.A,

950 F.2d 741, 760 (D.C. Cir. 1991) (quoting Small Refiner Lead Phase-Down Task Force v.

E.P.A., 705 F.2d 506, 549 (D.C. Cir. 1983)), and “ambiguous comments and weak signals from

the agency” are not sufficient to give interested parties the “opportunity to anticipate and criticize

the rule or to offer alternatives.” Int’l Union, 407 F.3d at 1261 (quoting Small Refiner, 705 F.2d

at 549).

        69.     Interested parties, including Plaintiff, could not have anticipated, and thus did not

have the opportunity to comment on, the “reasonably determined” exception to the definition of

“negotiated prices” that HHS ultimately adopted in the second clause of the regulation during the

2014 rulemaking.

        70.     The proposed rule would have “revise[d] the definition of negotiated prices at §

423.100 to require that all price concessions from pharmacies are reflected in these prices.” 79

Fed. Reg. at 1974. There was no discussion of any exceptions to that all-inclusive definition.

        71.     In the final rulemaking, the agency adopted a definition of “negotiated prices”

that included an exception for “contingent pharmacy price concessions that cannot reasonably be



                                                   29
       Case 1:21-cv-00131-ABJ           Document 1        Filed 01/15/21      Page 30 of 32




determined at the point-of-sale.” 79 Fed. Reg. at 29,878, 42 C.F.R. § 423.100(2). That

exception could not have been reasonably anticipated by interested parties.

       72.     Because the final rule “deviates too sharply from the proposal,” Plaintiff and other

interested stakeholders were therefore “deprived of notice and an opportunity to respond to the

proposal.” AFL-CIO v. Donovan, 757 F.2d 330, 338 (D.C. Cir. 1985) (quoting Small Refiner,

705 F.3d at 547).

       73.     The “reasonably determined” exception adopted in the second clause of the 2014

final rule must be vacated. See Allina Health Servs. v. Sebelius, 746 F.3d 1102, 1109–11 (D.C.

Cir. 2014); see also Allina Health Servs. v. Price, 863 F.3d 937, 945 (D.C. Cir. 2017). And

under the Medicare Act, the “reasonably determined” exception, which is not a logical outgrowth

of the proposed rule, “shall be treated as a proposed regulation and shall not take effect until

there is the further opportunity for public comment and a publication of the provision again as a

final regulation.” 42 U.S.C.A. § 1395hh(a)(4); see Allina, 863 F.3d at 945.

       74.     Similarly, certain related supplemental guidance issued by HHS after the final

rule violated the notice-and-comment requirements imposed by the Medicare Act and the

APA. See 42 U.S.C. § 1395hh(a)(2); 5 U.S.C. § 553. Following its publication of the final rule

defining negotiated prices, the agency issued guidance, including guidance on Direct and Indirect

Remuneration (DIR) beginning in 2016 and each year thereafter. There is no question that the

guidance “govern[s] the scope of benefits, the payment for services, or the eligibility . . . to

furnish or receive services or benefits.” See 42 U.S.C. § 1395hh(a)(2). Nor is there any question

that this guidance effectuated a “substantive legal standard” and a “substantive rule,” thus

triggering the rulemaking requirements of the Medicare Act and APA, respectively. See Allina,

863 F.3d at 943 (characterizing substantive standard under Medicare Act), aff’d Azar v. Allina



                                                  30
       Case 1:21-cv-00131-ABJ           Document 1       Filed 01/15/21      Page 31 of 32




Health Servs., 139 S. Ct. 1804, 1810–14 (2019) (discussing relationship between substantive rule

under APA and Medicare Act); U.S. Telecom Ass’n v. F.C.C., 400 F.3d 29, 34 (D.C. Cir. 2005)

(characterizing substantive standard under APA); see also 5 U.S.C. 553(b), (d); id. § 551(4)

(defining “rule”). Yet the guidance failed to comply with these applicable notice-and-comment

requirements. For example, the agency afforded the public a comment period of only

approximately two weeks, less than the 60 days required under the Medicare Act. See 42 U.S.C.

1395hh(b)(1). Likewise, in violation of both the Medicare Act and the APA, the agency failed to

both publish its notice and respond to public comments in the Federal Register. See 42 U.S.C.

1395hh(b); 5 U.S.C. 553(b), (c). HHS cannot escape the applicable rulemaking requirements by

labeling its guidance as interpretive. See U.S. Telecom, 400 F.3d at 35 (“[F]idelity to the

rulemaking requirements of the APA bars courts from permitting agencies to avoid those

requirements by calling a substantive regulatory change an interpretative rule.”); Allina, 139 S.

Ct. at 1810–14 (explaining that Medicare rulemaking statute does not borrow APA’s exception

for interpretive rules).

                                    REQUEST FOR RELIEF

        75.     For the foregoing reasons, Plaintiff requests an order:

        a.      declaring invalid and setting aside the “reasonably determined” pharmacy price

concession exception in the final rule, 79 Fed. Reg. at 29,878-79, 29,962, and 42 C.F.R.

§ 423.100(2)—providing that “negotiated prices” excludes “those contingent price concessions

that cannot reasonably be determined at the point-of-sale”;

        b.      declaring invalid and setting aside the agency’s DIR reporting guidance;

        c.      directing HHS to pay Plaintiff’s legal fees and other costs of suit; and

        d.      providing such other relief as the Court may deem appropriate.



                                                 31
      Case 1:21-cv-00131-ABJ   Document 1      Filed 01/15/21        Page 32 of 32




                                            Respectfully Submitted,

                                            /s/ Stephanie A. Webster
                                            Stephanie A. Webster
                                                D.C. Bar No. 479524
                                            Michael J. McDougall
                                                D.C. Bar No. 1023610
                                            ROPES & GRAY LLP
                                            2099 Pennsylvania Avenue, N.W.
                                            Washington, D.C. 20006
                                            Phone: (202) 508-4859
                                            Fax: (202) 383-9334
                                            stephanie.webster@ropesgray.com

                                            Counsel for Plaintiffs

Kenneth P. Monroe
Gregory F. Malloy
Of Counsel



Dated: January 15, 2021




                                     32
